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    VALLEY PARK EAST
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    MANASQUAN, NEW JERSEY 08736
    (732) 292-9288
    ATTORNEY FOR THE DEBTOR

    IN THE MATTER OF:                                 UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF NEW JERSEY

    MATTHEW JOSEPH PITERA                                  CASE NO.: 10-18337-CMG

                                                                   CHAPTER 11

                            DEBTOR          CERTIFICATION IN SUPPORT OF
                                         APPLICATION FOR UNCLAIMED FUNDS
    ____________________________________________________________________________

    Matthew J. Pitera, hereby certifies as follows:

           1.       I am the Debtor with respect to the above captioned matter and as such I am

    fully familiar with the facts contained herein. I make this second supplemental certification in

    support of my Application for Payment of Unclaimed Funds.

           2.      On June 21, 2023, the Court entered an Order Granting in part, the Application

    for Payment of Unclaimed Funds in the amount of $43,921.81 filed on my behalf by counsel

    on April 13, 2023.

           3.      The Order required that I was to attempt to serve for a final time one of the

    Unsecured Creditors who previously had not accepted my prior attempted Plan payments, Lisa

    Pasternak, (“Creditor”) by overnight mail with a copy of the Order at her address, 17 Main

    Street, Randolph, New Jersey 07869.

           4.      The Order further provided that to the extent Lisa Pasternak sought to make a

    claim for the unclaimed funds in the amount of her Plan Payment, she was required to file an
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    Application for Payment of Unclaimed Funds with this Court no later than thirty (30) days

    from the entry of the Order.

           5.      Finally, the Order provided that in the event that Lisa Pasternak did not file an

    Application for Payment of Unclaimed Funds within the thirty (30) day deadline, that the

    remaining funds identified in Exhibit 1 attached to the Order in the amount of $43,921.81, was

    to be made payable to me within thirty (30) days after making a request in writing in

    accordance with specific instructions provided by the Court.

           6.      Immediately thereafter on June 22, 2023 I sent a copy of the Order by overnight

    mail to Lisa Pasternak in accordance with the Court’s instructions. A copy of the proof of

    service of the transmission is annexed hereto as Exhibit “A”.

           7.      After Lisa Pasternak failed to respond or file an Application for Payment of

    Unclaimed Funds, on July 28, 2023 I submitted the requested and completed AO-213P to the

    Unclaimed Funds Division for the release of the remaining funds in the amount of $43,921.81.

    A copy of the Order Granting in part, my Application for Payment of Unclaimed Funds was

    additionally forwarded to the Unclaimed Funds Department.

           8.      After multiple communications from my attorney to the Unclaimed Funds

    Department as to the status of the distribution, I eventually received a partial distribution of

    $4,408.42 to the bank account that I provided on the AO-213P form submitted.

           9.      Unfortunately, to date, I still have not received the balance of the unclaimed

    funds from the Unclaimed Funds Department despite satisfying all the requirements found in

    the Order entered by the Court and several follow-up emails from my attorney to them on the

    subject.
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           10.    Given all of the foregoing, it is respectfully requested that the remaining

    $39,513.39 held in unclaimed funds be disbursed to me in accordance with my Application for

    such Unclaimed Funds and the Court’s Order of June 21, 2023.



           I hereby certify that the foregoing statements made by me are true. I am aware that if

    any if the foregoing statements made by me are willfully false, I am subject to punishment.




    Dated: 09/18/2023                                            /s/ Matthew Joseph Pitera
                                                                     Matthew Joseph Pitera
